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ORI Gl hy UNITED STATES DISTRICT COURT —

FOR THE NORTHERN DISTRICT OF TEXAS) NOV 23 PM 2:13

Case 3:21-cv-02942-M-BN

JENNIFER SANFORD, ) cepury cLerk_MIG
Plaintiff, CIVIL ACTION
V. Case No.
NATIONWIDE CREDIT & 3-21CV2 942-7,
COLLECTION, INC, ) | JURY DEMANDED
Defendant.
INTRODUCTION

l. This is an action for actual and statutory damages brought by Plaintiff
Jennifer Sanford (“Plaintiff’), an individual consumer, against Defendant
Nationwide Credit & Collection, Inc. (“Defendant”) for violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter “FDCPA”), which
prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.

JURISDICTION

2. This is a civil action to enforce liability created under the FDCPA.

3. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d).

4. Jurisdiction of this court arises under 28 U.S.C. § 1337(a).

VENUE

3. Venue in this court is proper under “28 U.S.C. § 1391(b)(1).

 

 
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6. A substantial part of the events or omissions giving rise to Plaintiff's

claim herein occurred in this judicial district.
PARTIES

7 Plaintiff, Jennifer Sanford (“Plaintiff”), is a resident of the State of
Texas, from whom Defendant attempted to collect a delinquent consumer debt
allegedly owed for a defaulted Northwestern Medicine consumer medical account.

8. Plaintiff resides in Dallas County, Texas.

9. Plaintiff is a “consumer” as defined under 15 U.S.C. § 1692a(3).

10. Plaintiff is a natural person.

11. Defendant, Nationwide Credit and Collection, Inc. (“NCC”), is an
Illinois corporation. It does or transacts business in Illinois. The registered agent is
Gregg I Minkow at 330 Oak Knoll Terrace, Northbrook, IL, 60062. (Exhibit A,
Record from the Illinois Security of State).

12. Defendant is engaged in the business of collecting debt in the state of
Illinois with his principal place of business located at 815 Commerce Drive, Suite
270, Oak Brook, Illinois, 60523.

13. Defendant is engaged in the collection of debts using one or more
instrumentalities of interstate commerce or the mails, and telephone to collect

debts originally owed to others.

 
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14. NCC holds a collection agency license from the state of Illinois.
(Exhibit B Record from Illinois Department of Financial & Professional
Regulation).

15. Defendant is a “debt collector” as defined under 15 U.S.C. §
1692a(6).

FACTUAL ALLEGATIONS

16. On September 23, 2021, Defendant sent Plaintiff a dunning letter
attempting to collect $40.00.

17. On October 1, 2021, Defendant sent Plaintiff a second dunning letter
attempting to collect $200.00.

18. Defendant sent the dunning letter to Plaintiff via United States Postal
Service regular mail on or about September 23, 2021.

19. Defendant sent the second dunning letter to Plaintiff via United States
Postal Service regular mail on or about October 1, 2021.

20. On October 1, 2021, Plaintiff received the dunning letter from
Defendant via United States Postal Service regular mail at Plaintiff's residence in
Irving, Texas.

21. On October 17, 2021, Plaintiff received the second dunning letter
from Defendant via United States Postal Service regular mail at Plaintiffs

residence in Irving, Texas.

 
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22. The dunning letters and alleged debts claimed are attached hereto and
incorporated herein as Exhibit C and Exhibit D.

23. Defendant made multiple calls to the Plaintiff on September 7, 2021 at
2:36pm and 6:02pm, on September 30, 2021 at noon.

24. The subject alleged debt that Defendant was and is attempting to
collection from Plaintiff was allegedly incurred for personal, family, or household
purposes.

25. Plaintiff is not indebted to Defendant for $240.00.

26. Plaintiff has not promised to pay Defendant $240.00.

27. Plaintiff has not consented to or entered into any contract with
Defendant promising to pay it $240.00.

CLAIM FOR RELIEF

28. Plaintiff realleges and incorporates the foregoing paragraphs verbatim.

29. Defendant violated the FDCPA as to its conduct toward Plaintiff.

30. Defendant’s FDCPA violations include, but are not limited to:

a. A representative of the NCC stated that the Plaintiff, a consumer,
owed a debt, on a recorded call, on October 4, 2021 at approximately

5:14 P.M. CST in violation of 15 USC § 1692b(2);

 
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b. Engaging in collection activity to harass, oppress, or abuse Plaintiff in
connection with the collection of an alleged debt of approximately
$240.00 in violation of 15 U.S.C. § 1692d:

c. Falsely representing the character, amount, or legal status of an
alleged debt of approximately $240.00 in violation of 15 U.S.C. §
1692e(2)(A);

d. Using false representation or deceptive means via its collection
activity and dunning letter(s) to collect or attempt to collect an alleged
debt of $240.00 from Plaintiff in violation of 15 U.S.C. § 1692e(10);

e. Failing to disclose in communications from Defendant to Plaintiff that
the communication is from a debt collector in violation of 15 U.S.C. §
1692e(11);

f. Attempting to collect $240.00 from Plaintiff when such amount is not
expressly authorized by law or any agreement creating the amount;

31. As a result of the foregoing violations of the FDCPA, Defendant is
liable to Plaintiff for actual damages, statutory damages, and costs and attorney’s
fees.

WHEREFORE, Plaintiff respectfully requests that juddinens be entered
against Defendant for the following:

a. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

 
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b. Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);

c. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

1692k(a)(3); and

d. For such other and further relief as the Court may deem just and

proper.
Respectfully submitted,
Dated: November 22, 2021 /s/ Jennifer Sanford

Jennifer Sanford

6535 Deseo Apt 3091

Irving, Texas 75039
Telephone: 219-916-9311
Facsimile: 312-722-6501
Email: snfrd.jnnfr@gmail.com
PLAINTIFF (pro se)
Case 3:21-cv-02942-M-BN Document 3 Filed 11/23/21 Page 7of18 PagelD 11

DEMAND FOR JURY TRIAL

Please take notice that Plaintiff demands trial by jury in this action if so
triable.

Respectfully submitted,

Dated: November 22, 2021 /s/ Jennifer Sanford

Jennifer Sanford
Case 3:21-cv-02942-M-BN Document 3 Filed 11/23/21 Page 8of18 PagelD 12

CERTIFICATE OF SERVICE
I certify that a copy of the foregoing was served upon Defendant via his
attorney of record via U.S.P.S. priority mail express with sufficient postage

attached thereto addressed to:

Vicent Gallelli
815 Commerce Dr. Suite 270
Oak Brook, IL 60523-8852

Gregg I Minkow

330 Oak Knoll Terrace
Northbrook, IL, 60062

Respectfully submitted,

Dated: November 22, 2021 /s/ Jennifer Sanford
Jennifer Sanford

 
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Exhibit A
Case 3:21-cv-02942-M-BN Document 3 Filed 11/23/21 Page 10o0f18 PagelD 14

  

Office of the Secretary of State Jesse White

*/’ ilsos.gov

cyberdriveillinois.com is now ilsos.gov

Corporation/LLC Search/Certificate of Good Standing

Corporation File Detail Report

File Number 60042381

Entity Name NATIONWIDE CREDIT AND COLLECTION INC.

Status
ACTIVE

Entity Information
Entity Type
CORPORATION

Type of Corp
DOMESTIC BCA

Incorporation Date (Domestic)
Wednesday, 15 July 1998

State
ILLINOIS

Duration Date
PERPETUAL

Agent Information

Name
GREGaIaVANKoQW-02942-M-BN Document 3 Filed 11/23/21 Page 11 of 18

Address
330 OAK KNOLL TER
NORTHBROOK , IL 60062

Change Date
Friday, 19 November 2021

Annual Report

Filing Date
Tuesday, 18 May 2021

For Year
2021

Officers

President
Name & Address

VINCENT GALLELLI 815 COMMERCEDRIVE SE270 OAK BROOK IL 60523

Secretary
Name & Address
JOHN FALVEY 815 COMMERCE DRIVESE270 OAK BROOK IL 60523

Assumed Name

ACTIVE
NCCI, INC.

Return to Search

File Annual Report
Adopting Assumed Name

Articles of Amendment Effecting A Name Change
Change of Registered Agent and/or Registered Office

PagelD 15

 
 

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Exhibit B

 
Illinois Department of Financial and
Professional Regulation

 

Lookup Detail View

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Contact

Contact Information

Name City/State/Zip DBA / AKA
NATIONWIDE CREDIT AND COLLECTION ING Oak Brook, IL 60523 e
License

License Information

First

License Effective Effective | Expiration | Ever
Number Description Status | Date Date Date Disciplined
017000873 LICENSED ACTIVE | 08/29/1987 | 05/10/2021 | 05/31/2024 | N

(tel:01 7000873) COLLECTION

AGENCY
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Case 3:21-cv-02942-M-BN Document 3 Filed 11/23/21 Page 14o0f18 PagelD 18

Exhibit C
    
     

Oak Brook, IL 60523-8852
jamal | Mier: || ime Phone: (630) 528-5305

. . Fax: (800) 485- 7
NATIONWIDE eC

aa Pay Online: https://www.clientaccessweb.com/NCC/payments
eformndeg - Uatrgsity - Seryere

September 23, 2021 a
ee 091 Creditor: Northwestern Medicine -

File Number:
IRVING TX 75039-3185 Neon Dae eee

NOTICE OF COLLECTION

This is to notify you that Northwestern Medicine has placed the above Amount Due with our office, Nationwide Credit and
Collection, Inc. for the purpose of collecting a debt.

   

Payment options include: Visa, MasterCard, Discover, Check By Phone, or a payment can be mailed using the payment stub on the
bottom of this notice, Please include your File Number on all checks and correspondence. You may also pay your account online

by visiting https://www.clientaccessweb.com/NCC/payments and entering File Number: 9854723. If you would like to pay by
text, please text the word PAYMENT to 74877.

If you would like to discuss this matter with your account representative, we are available to assist you. When calling regarding
your account, please refer fo File Number: 9854723.

Thank You, Nationwide Credit & Collection, Inc.
NOTICE PURSUANT TO THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA) 15 USCA 1692

This communication is from a debt collector, This is an attempi to collect a debi and any information obtained will be used
for that purpose. Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this
debt or any portion thereof, this office will assume this debt is valid. If you notify this office in writing within 30 days from
receiving this notice that you dispute the validity of this debi or any portion thereof, this office will obtain verification of the
debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. If you request of this office in
writing within 30 days after receiving this notice this office will provide you with the name and address of the original
creditor, if different from the current creditor.

-Financial Assistance — the creditor is committed! to providing information io patients who may need financial help to pay their
medical bills. For more information or to obtain a free copy of the creditor's Financial Assistance Program policy or application,
please call the creditor or visit the creditor's website.

SEE REVERSE SIDE FOR STATEMENT INFORMATION .
Please note: For multiple accounts, payments are applied to the oldest accounis first when not specified.
** COMPLETE AND RETURN THIS FORM WITH YOUR PAYMENT **

 

 

 

 

 

 

 

 

 

[ iF YOU WISH TO PAY BY CREDIT CARD, CIRCLE ONE AND FILL IN THE INFORMATION BELOW.
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0 en ee .
PO Box 505 CARD HOLDER NAME cw 8
Linden MI 48451-0505 3
SIGNATUR \MOUN
RETURN SERVICE REQUESTED aes ae g
IF THIS PAYMENT IS FROM AN FSA ACCOUNT PLEASE CHECK HERE: | 4
. nN
September 23, 2021 Creditor: Northwestern Medicine
. G tor: JENNIFER SANFORD
Phone: (630) 528-5305 File Number: 9854723
< Amount Due: $40.00
<
z Make Payable and Remit payment sfub to:
z
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5 JENNIFER SANFORD wesepts EalacHDansalsTavcLsdesbsbocdDocstebocelUdadessscl dedoatbead
3 $535 DESEO APT 3091 brace Nationwide Credit & Collection, Inc.
IRVING TX 75039-3185 eset c/o Evergreen Bank Group
PO Box 3219

Oak Brook IL 60522-3219

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Case 3:21-cv-02942-M-BN Document 3 Filed 11/23/21 Page 16 of 18

Exhibit D

PagelD 20
00020278-000133-01-1-AA

re at

  

NA

Commerce Dr, Suite 270

942-M-BN Document 3 Filed 11/23/21 Page 4 of 18 PagelD 21
| Oak Brook, IL 60523-8852

 

Phone: (630) 528-5305

TI O N WI DE Fax: (800) 485-0207

21 Ot

Ferformmoncey nteqnty Sefeicy isis |
October 1, 2021
JENNIFER SANFORD

6 6 BY

Pay Online: https://www.clientaccessweb.com/NCC/paymenits

  
 

Creditor; Northwestern Medicine
6535 DESEO APT 309) . 5
IRVING TX 75039.3185 File Number: 10082462

Amount Due: $200.00
NOTICE OF COLLECTION

This is to notify you that Northwestern Medicine has placed the above Amount Due with our office, Nationwide Credit and
Collection, Inc, for the purpose of collecting a debt.

Payment options include: Visa, MasterCard, Discover, Check By Phone, or a payment can be mailed using the payment stub on the
bottom of this notice. Please include your File Number on all checks and correspondence. You may also pay your account online
by visiting https://www.clientaccessweb.com/NCC/payments and entering File Number: 10082462. If you would like to pay by
text, please text the word PAYMENT to 74877,

if you would like to discuss this matter with your account represeniative, we are available to assist you. When calling regarding
your account, please refer to File Number: 10082462.

Thank You, Nationwide Credit & Collection, Inc.

NOTICE PURSUANT TO THE FAIR DEBT COLLECTION PRACTICES ACT (FOCPA) 15 USCA 1692

This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will be used
for that purpose. Unless you nofify this office within 30 days after receiving this notice that you dispute the validity of this
debt or any portion thereof, this office will assume this debt is valid. if you notify this office in writing within 30 days fram
receiving this notice that you dispute the validity of this debt or any portion thereof, this office will obiain verification of the
debt or obtain a copy of « judgmeni and mail you a copy of such judgmeni or verification. If you request of this office in
writing within 30 days after receiving this notice this office will provide you with the name and address of the original
creditor, if different from the current creditor.

-Financial Assistance — the creditor is committed to providing information to patients who may need financial help to pay their
medical bills. For more information or to obtain a free copy of the creditor's Financial Assistance Program policy or application,
please call the creditor or visit the creditor's website.

Y2TAGTIFG2 $ ~
UTTER a EN ERA EU ww __.
PO Box 505

SEE REVERSE SIDE FOR STATEMENT INFORMATION .
Please note: For multiple accounts, payments are applied to the olclest accounts first when not specified.
oe ““<GOMPLETE AND RETURN THIS FORM WITH YOUR PAYMENT ***

IF YOU WISH TO PAY BY CREDIT CARD, CIRCLE ONE AND FILL IN THE INFORMATION BELOW, },

[ VISA! Dis ver.

 

 

 

 

 

 

 

 

 

 

CARD HOLDER NAME CVV 8

Linden MI 48451-0505 a

RETURN SERVICE REQUESTED ATORE ST ee g

iF THIS PAYMENT IS FROM AN FSA ACCOUNT PLEASE CHECK HERE: [| a

October 1, 2021 Creditor: Northwestern Medicine ~
Phone, (630) 528-5305 Guarantor: JENNIFER SANFORD

File Number: 10082462
Amount Due: $200.00

Make Payable and Remit payment stub to:

0003 1200240 18550296 175039318566-—-Y27AG7 1F62 133--40000--133

JENNIFER SANFORD

sony PebDssELoccadabocsdsdaabstesEasababecstHatesessddatasdbeat

6535 DESEO APT 3091 Es Nationwide Credit & Collection, Inc.
IRVING TX 75039-3185 eee c/o Evergreen Bank Group
PO Box 3219

Oak Brook IL 60522-3219
 

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provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for th¢ use df the Ger Sart for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) 5

T. (a) PLAINTIFFS DEFENDANTS =
JENNIFER SANFORD NATIONWIDE CREDIT & COLIEC TORING: eo Riot OF Texas

  

 

 

 

 

 

 

 

 

(b) County of Residence of First Listed Plaintiff DALLAS County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

 

 

  
 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
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S-Z1iCV
49-
Ill. BASIS OF JURISDICTION (Place an “X”’ in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
C 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State CT 1 CT 1 Incorporated or Principal Place oO 4 C 4
of Business In This State
C] 2 U.S. Government ]4 Diversity Citizen of Another State Cc 2 LC] 2 Incorporated and Principal Place CL] 5 OC 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a (13 [J 3. Foreign Nation Ole (C6
Foreign Country
IV. NATURE OF SUIT (pace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
I CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
| 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
| 120 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 1690 Other 28 USC 157 3729(a))
| 140 Negotiable Instrument Liability CT 367 Health Care/ i 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights | 430 Banks and Banking
151 Medicare Act CI 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
| 152 Recovery of Defaulted Liability CT 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
) Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY { | 880 Defend Trade Secrets x] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
CT 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury CO 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS] PRISONER PETITIONS |_|790 Other Labor Litigation |] 865 RSI (405(g)) |] 891 Agricultural Acts
| | 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement | | 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act / 1X. es 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate [| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations | 530 General r | 871 IRS—Third Party 899 Administrative Procedure
[| 290 All Other Real Property | 445 Amer. w/Disabilities - | | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
Ey]! Original 2 Removed from 3 Remanded from oO 4 Reinstated or CO 5 Transferred from 6 Multidistrict [-]8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION }2ULS.C.8 1622 et sea, (Fair Debt Collection Practices Act)
Brief description of cause:
Violations of the FDCPA
VI. REQUESTED IN = [() CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [x]yes []No
VII. RELATED CASK(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
